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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
KYSS BURTON, BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND AND
SAKIA HALL,
Plaintiffs,
v. Case No. 3:1 1-cv-00065-JRS
HAROLD FORD,

Defendant.

MOTION TO COMPEL

COMES NOW the defendant, by counsel, pursuant to Rule 37(a) of the Federal Rules of
Civil Procedure, and moves to compel the plaintiff to file Initial Disclosures, to provide complete
and executed Answers to Interrogatories and Responses to Request for Production of Documents
which were served upon him on or about March 30, 2011, and to sit for a deposition, Defendant
hereby incorporates his Brief in Support of the Motion to Compel as if fully set forth herein,
Defendant has in good faith conferred with counsel for the plaintiff in an effort to obtain the
initial Disclosures, discovery responses and to take the deposition without court action,

WHEREFORE, the defendant respectfully requests this Court to enter an Order
compelling the plaintiff to provide Initial Disclosures, complete Answers to Interrogatories,
executed under oath, and Responses to Request for Production of Documents, to sit for their
depositions, and if these items are not completed by May 20, 2011, to award the defendant his
costs and expenses incurred in bringing this Motion.

HAROLD FORD

By Counsel
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/s/

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CERTIFICATE

Thereby certify that on the ‘7 day of May, 2011, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

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